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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------X
  STATE OF NEW YORK,

                                Plaintiff,             MEMORANDUM & ORDER
                                                       12-CV-6276(JS)(SIL)
              -against–

  MOUNTAIN TOBACCO COMPANY, d/b/a
  KING MOUNTAIN TOBACCO COMPANY, INC.,

                           Defendant.
  ---------------------------------------X
  APPEARANCES:
  Plaintiff:          Christopher K. Leung, Esq.
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  SEYBERT, District Judge:

              Presently    pending    before    the   Court   are    defendant

  Mountain Tobacco Company’s (“King Mountain”) motion for partial

  summary judgment (Docket Entry 195) and plaintiff State of New

  York’s (the “State”) cross motion for summary judgment (Docket
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  Entries 197 and 198 1).     For following reasons, the parties’ motions

  are both GRANTED IN PART and DENIED IN PART.

                                   BACKGROUND 2

              King    Mountain,    a   for-profit     corporation   formed   and

  operating under the laws of the Yakama Indian Nation, manufactures

  and sells its own brand of cigarettes.             (Pl.’s 56.1 Stmt., Docket

  Entry 195-5, ¶¶ 28, 30.) 3           King Mountain’s principal place of

  business is located on the Yakama Indian Nation Reservation.

  (Pl.’s 56.1 Stmt. ¶ 32.)        Delbert Wheeler, Sr., an enrolled member

  of the Yakama Nation, is the sole owner of King Mountain.              (Pl.’s

  56.1 Stmt. ¶¶ 35, 39.)

              The    State   alleges   that   King    Mountain   has   marketed,

  distributed, and sold its cigarettes in New York since at least




  1 The State filed its cross motion for summary judgment at Docket
  Entry 197. However, the State also filed a motion for leave to
  electronically file under seal and a motion for summary judgment
  at Docket Entry 198. These two docket entries contain the same
  dispositive motion.

  2The following material facts are drawn from King Mountain’s
  Local Civil Rule 56.1 Statement and the State’s Local Civil Rule
  56.1 Counterstatement unless otherwise noted. Any relevant
  factual disputes are noted.

  3 As set forth more fully in the transcript of the proceedings
  held on April 8, 2016, the Court granted King Mountain’s motion
  to strike the State’s Local Rule 56.1 Statement dated January
  29, 2016 (the “January 56.1 Statement”). (Docket Entry 197-2.)
  Accordingly, the Court will not consider the January 56.1
  Statement, or the portion of the State’s memorandum of law that
  relies upon additional facts set forth in the January 56.1
  Statement.
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  June 1, 2010.    (Pl.’s 56.1 Stmt. ¶ 52.)         King Mountain denies that

  allegation, (Def.s’ 56.1 Counterstmt., Docket Entry 195-6, ¶ 52),

  but alleges that it “sells its cigarettes to Indian Nations, and

  to companies owned by a member of an Indian Nation, that are

  situated on Indian Nations, some of which are located within the

  boundaries of the State of New York[,]” (Def.s’ Sec. 56.1 Stmt.,

  Docket   Entry   195-3,    ¶    13).     Nevertheless,     King    Mountain   has

  conceded that it sold cigarettes to Valvo Candies, an entity that

  is not owned by an Indian Nation or tribe or a member of an Indian

  Nation or tribe.       (Def.’s Br., Docket Entry 195-1, at 9, n.4.)

  The State alleges that Valvo Candies is not located on a qualified

  Indian   reservation      and   is     instead   located   in     Silver   Creek,

  Chautauqua County, New York.           (Pl.’s 56.1 Stmt. ¶¶ 53(l), 54(a).) 4

  It is undisputed that King Mountain has not filed reports or

  registrations with the New York State Department of Taxation and

  Finance (“DTF”).     (Def.’s Sec. 56.1 Stmt. ¶ 23.)

              On November 6, 2012, a New York State investigator

  purchased one carton of unstamped King Mountain brand cigarettes

  for twenty-five dollars at a smoke shop located on the Poospatuck

  Indian Reservation in Mastic, New York.             (Def.’s Sec. 56.1 Stmt.




  4 King Mountain does not deny that Valvo Candies is not located
  on a qualified Indian reservation and instead asserts that this
  allegation is based on evidence not produced in discovery and
  constitutes a “purported legal conclusion that does not require
  a factual response.” (Def.’s 56.1 Counterstmt. ¶¶ 54(a)-(b).)
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  ¶ 25.)      On December 3, 2012, New York State troopers stopped a

  truck in Clinton County, New York, and seized one hundred and forty

  cases of unstamped King Mountain brand cigarettes.                     (Def.’s Sec.

  56.1 Stmt. ¶ 26.)           The cigarettes were being transported by ERW

  Wholesale to the Ganienkeh Nation in Altona, New York.                      (Def.’s

  Sec. 56.1 Stmt. ¶ 26(a).)

                  On May 15, 2013, a New York State investigator purchased

  cartons of unstamped King Mountain brand cigarettes at smoke shops

  located on the Poospatuck Indian Reservation in Mastic, New York.

  (Def.’s Sec. 56.1 Stmt. ¶ 27.)            On May 16, 2013, a New York State

  investigator purchased one carton of unstamped King Mountain brand

  cigarettes for twenty dollars at a smoke shop located on the Cayuga

  Indian Reservation in Union Springs, New York.                  (Def.’s Sec. 56.1

  Stmt. ¶ 29.)          On June 5, 2013, a New York State investigator

  purchased two cartons of unstamped King Mountain brand cigarettes

  at smoke shops located on the Poospatuck Indian Reservation.

  (Def.’s Sec. 56.1 Stmt. ¶ 30.)

        A.        The Administrative Proceeding

                  On   December     20,    2012,   DTF   issued      a    Notice   of

  Determination against King Mountain in connection with cigarettes

  seized     on    December    3,   2012   (the    “Notice   of    Determination”).

  (Def.’s Sec. 56.1 Stmt. ¶ 26(c).)                The Notice of Determination

  alleged that King Mountain failed to pay $1,259,250.00 in state



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  taxes pursuant to New York State Tax Law Article 20.              (Def.’s Sec.

  56.1 Stmt. ¶ 26(c).)

              On   October   23,   2014,    DTF    filed    a   Stipulation   of

  Discontinuance stating that King Mountain owed $0 in tax, penalty,

  and interest in connection with the Notice of Determination (the

  “Stipulation     of   Discontinuance”).         (Def.’s    Sec.   56.1   Stmt.

  ¶ 26(d).)    On November 19, 2014, the presiding Administrative Law

  Judge issued an Order decreeing that the State’s assessment against

  King Mountain was cancelled and dismissed with prejudice.             (Def.’s

  Sec. 56.1 Stmt. ¶ 26(e).)

  I.    The Amended Complaint

              The Amended Complaint dated May 21, 2014 5 asserts claims

  pursuant to the Contraband Cigarette Trafficking Act (“CCTA”),

  Prevent All Cigarette Trafficking Act (“PACT Act”), New York Tax

  Law §§ 471, 471-e, and 480-b, and New York Executive Law § 156-c

  against King Mountain. 6     (Am. Compl., Docket Entry 96.)          The State



  5 The State initially filed an unsigned Amended Complaint on
  February 13, 2013. (Docket Entry 6.) The Amended Complaint was
  subsequently signed and refiled on May 21, 2014. (Docket Entry
  96.)

  6 Mountain Tobacco Distributing Company Inc., and Delbert
  Wheeler, Sr. were also named as defendants in this action. (Am.
  Compl.) The State voluntarily dismissed Mountain Tobacco
  Distributing Company Inc. as a defendant pursuant to an Amended
  Notice of Dismissal, So Ordered on May 9, 2013. (Docket Entry
  45.) Mr. Wheeler was terminated as a defendant pursuant to the
  Court’s Memorandum and Order dated January 26, 2016, granting
  Mr. Wheeler’s motion to dismiss. (Docket Entry 193.)
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  seeks   to   enjoin   King     Mountain       from    making   allegedly   illegal

  cigarette sales and shipments into New York and also seeks civil

  penalties, attorney fees, and costs.                 (Am. Compl. ¶ 3.)

  II.   The Pending Motions

               On January 29, 2016, King Mountain filed a motion for

  partial summary judgment and the State filed a cross motion for

  summary judgment.       (Def.’s Mot., Docket Entry 195; Pl.’s Mot.,

  Docket Entry 197.)       The State and King Mountain each filed one

  brief in support of their respective motions and a separate brief

  in opposition to their adversary’s motion.                The parties each filed

  a reply brief, as well as supplemental briefs in response to the

  Court’s Electronic Order dated May 4, 2016. As the parties’ briefs

  are somewhat duplicative, the Court will address the relevant

  arguments by party, rather than by motion sequence.

        A.      King Mountain’s Position

               King   Mountain    has   moved      for     summary   judgment   with

  respect to the State’s claims under the CCTA, PACT Act, and New

  York Tax Law (“NYTL”) Sections 471 and 471-e.                      (See generally

  Def.’s Br.)    King Mountain argues that the State’s CCTA claim must

  fail because, inter alia, it is exempt as an “Indian in Indian

  country.”    (Def.’s Br. at 12, 14-16.)              King Mountain avers that it

  is not asserting a sovereign immunity defense and the State’s focus

  on tribal sovereign immunity is, accordingly, irrelevant.                  (Def.’s

  Opp. Br., Docket Entry 202, at 3.)

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              King Mountain alleges that it is entitled to summary

  judgment on the PACT Act claim because its sale of cigarettes to

  Native Americans did not take place in “interstate commerce” as

  defined by the Act.       (Def.’s Br. at 17.)        King Mountain argues

  that the PACT Act’s definition of “State” does not encompass

  “Indian Country” and cites to the distinct definitions provided

  for each term.     (Def.’s Opp. Br. at 11.)        Although King Mountain

  concedes that it sold cigarettes to Valvo Candies on one occasion,

  it alleges that was an isolated sale that predated the effective

  date of the PACT Act.      (Def.’s Br. at 19.)

              King Mountain alleges that the State’s third cause of

  action is barred by res judicata based on the prior Tax Proceeding.

  (Def.’s Br. at 20-25.)      With respect to the merits, King Mountain

  argues that it is not liable under NYTL Sections 471 and 471-e

  because: (1) it did not possess unstamped cigarettes in New York

  State; and (2) Section 471 does not impose liability on a lawful

  out-of-state cigarette manufacturer because it is not an “agent”

  or “consumer” as defined by the statute.         (Def.’s Opp. Br. at 20.)

  King Mountain alleges that “nothing in the law precludes King

  Mountain from selling to Indian Nations, who could then sell those

  cigarettes to licensed-stamping agents.”         (Def.’s Opp. Br. at 21.)

              King Mountain also argues that summary judgment should

  be denied with respect to the State’s fourth and fifth causes of

  action.   (Def.’s Opp. Br. at 22-23.)        King Mountain avers that it

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  did not knowingly violate NYTL Section 480-b because its sales

  were “Nation to Nation” with one exception.            (Def.’s Opp. Br. at

  22-23.)     King Mountain also argues that the record demonstrates

  that it affixed the requisite Fire Standard Compliant (“FSC”) stamp

  to its cigarettes.      (Def.’s Opp. Br. at 23.)

         B.   The State’s Position

              The State moves for summary judgment on all of its

  claims.     (See generally Pl.’s Br., Docket Entry 197-1.)               With

  respect to the CCTA, the State argues that the “Indian in Indian

  Country” exemption is not applicable to King Mountain.                (Pl.’s

  Opp. Br., Docket Entry 201, at 6.)          Particularly, the State argues

  that the CCTA’s use of the term “Indian” refers to an individual

  member of a tribe, not an Indian-owned business.           (Pl.’s Opp. Br.

  at 6-7.)      Additionally, the State alleges that even if King

  Mountain is an “Indian in Indian Country,” the CCTA exemption still

  does not apply because that exemption is meant to protect tribal

  governments and tribal sovereignty.          (Pl.’s Opp. Br. at 7-8.)

              The   State    argues    that     King   Mountain’s    arguments

  regarding the PACT Act are founded in a misreading of the statute.

  (Pl.’s Opp. Br. at 12.)       The State alleges that the term “state”

  in the PACT Act does not exclude Indian reservations because

  pursuant to federal common law, “Indian country is ordinarily

  considered a part of a state’s territory.”             (Pl.’s Opp. Br. at

  12.)    The State also avers that King Mountain’s interpretation of

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  the PACT Act would defeat the statutory purpose of defeating remote

  sellers from selling untaxed cigarettes.             (Pl.’s Br. at 28.)

              The State alleges that King Mountain is liable under

  NYTL Sections 471 and 471-e for shipping unstamped cigarettes into

  New York State.       (Pl.’s Br. at 30.)          The State also argues that

  res judicata does not bar its claim because: (1) the underlying

  facts of the Tax Proceeding do not arise out of the same series of

  transactions as the underlying facts in this case; (2) the Tax

  Department and Attorney General are not in privity; and (3) King

  Mountain waived any res judicata defense by failing to assert it

  in its Answer.        (Pl.’s Opp. Br. at 15-25.)            Further, the State

  avers that the DTF rules provide that a stipulation cannot be used

  against the parties in another proceeding.              The State notes that

  the Tax Proceeding only addressed cigarettes seized by the State

  on December 1, 2012.       (Pl.’s Br. at 32.)

              The State also alleges, with respect to its fourth and

  fifth   claims,     that    King    Mountain       failed    to      file   annual

  certifications    in    violation    of    NYTL    Section    480-b,    and   King

  Mountain has violated the fire prevention certification filing

  requirement set forth in New York Executive Law Section 156-c.

  (Pl.’s Br. at 33-34.)

                                     DISCUSSION

              Summary    judgment     will   be     granted    where    the   movant

  demonstrates that there is “no genuine dispute as to any material

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  fact and the movant is entitled to judgment as a matter of law.”

  FED. R. CIV. P. 56(a).       A genuine factual issue exists where “the

  evidence is such that a reasonable jury could return a verdict for

  the nonmoving party.”        Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 248, 106 S. Ct. 2505, 2510 91 L. Ed 2d 202 (1986).                    In

  determining whether an award of summary judgment is appropriate,

  the    Court    considers     the   pleadings,     deposition     testimony,

  interrogatory responses, and admissions on file, together with

  other firsthand information that includes but is not limited to

  affidavits.     Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir. 2011).

              The movant bears the burden of establishing that there

  are no genuine issues of material fact.               Gallo v. Prudential

  Residential Servs., L.P., 22 F.3d 1219, 1223 (2d Cir. 1994).             Once

  the movant makes such a showing, the non-movant must proffer

  specific facts demonstrating “a genuine issue for trial.”              Giglio

  v. Buonnadonna Shoprite LLC, No. 06-CV-5191, 2009 WL 3150431, at

  *4 (E.D.N.Y. Sept. 25, 2009) (internal quotation marks and citation

  omitted).      Conclusory allegations or denials will not defeat

  summary judgment.      Id.   However, in reviewing the summary judgment

  record, “‘the court is required to resolve all ambiguities and

  draw all permissible factual inferences in favor of the party

  against whom summary judgment is sought.’”            Sheet Metal Workers’

  Nat’l Pension Fund v. Vadaris Tech. Inc., No. 13-CV-5286, 2015 WL



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  6449420, at *2 (E.D.N.Y. Oct. 23, 2015) (quoting McLee v. Chrysler

  Corp., 109 F.3d 130, 134 (2d Cir. 1997)).

  I.      Federal Claims

         A.     Contraband Cigarette Trafficking Act

                The CCTA mandates that “[i]t shall be unlawful for any

  person      knowingly       to    ship,   transport,    receive,    possess,       sell,

  distribute,      or     purchase       contraband      cigarettes   or   contraband

  smokeless tobacco.”              18 U.S.C. § 2342(a).     “Contraband cigarettes”

  are defined as 10,000 or more cigarettes that “bear no evidence of

  the payment of applicable State or local cigarette taxes in the

  State or locality where the cigarettes are found, if the State or

  local government requires a stamp . . . to be placed on packages

  or other containers of cigarettes to evidence payment of cigarette

  taxes.”      18 U.S.C. § 2341(2).           CCTA Sections 2341 and 2342 can be

  read   together       to    establish      the   following   elements    of    a   CCTA

  violation:      (1)        knowingly      shipping,    transporting,     receiving,

  possessing, selling, distributing, or purchasing (2) in excess of

  10,000 cigarettes (3) that are not stamped (4) “under circumstances

  where state or local cigarette tax law requires the cigarettes to

  bear such stamps.”               City of N.Y. v. Golden Feather Smoke Shop,

  Inc., No. 08-CV-3966, 2009 WL 705815, at *11 (E.D.N.Y. Mar. 16,

  2009) (citation omitted).

                A CCTA exemption exists for “Indians in Indian Country.”

  Specifically, Section 2346 provides that “[n]o civil action may be
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  commenced under this paragraph against an Indian tribe or an Indian

  in Indian country.”            18 U.S.C. § 2346(b)(1).                   See also City of

  N.Y. v. Milhelm Attea & Bros., Inc., 550 F. Supp. 2d 332, 346

  (E.D.N.Y. 2008) (noting that the 2006 amendments to the CCTA

  “provide that no civil action may be commenced by a state or local

  government against an Indian tribe or an Indian in Indian country

  for   violations       of    the    CCTA”).          “Indian       Country”      is    defined

  as,   inter    alia,       “all    land     within        the    limits    of    any    Indian

  reservation         under    the        jurisdiction        of     the     United       States

  Government.”                            18 U.S.C. § 1151(a).           The CCTA does not

  define the term “Indian.”

                The    parties       do     not   dispute         that   King     Mountain    is

  organized under the laws of the Yakama Nation; wholly owned by Mr.

  Wheeler, a member of the Yakama Nation; and located on the Yakama

  Indian Reservation.               Nevertheless, the State argues that King

  Mountain is not an “Indian” and, thus, is not entitled to the

  “Indian in Indian Country” exemption.                      The Court disagrees.

                The principles of corporate “personhood” support the

  notion that King Mountain is an “Indian” for purposes of the CCTA.

  In an analogous matter, the Supreme Court held that the Religious

  Freedom     Restoration           Act     of     1993      (“RFRA”),       42     U.S.C.    §

  2000bb     et.       seq.,        which     prohibits           the    government         from

  “‘substantially burden[ing] a person’s exercise of religion,’”

  applies       to     the      activities             of     closely-held         for-profit

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  corporations.      Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct.

  2751, 2754, 189 L. Ed. 2d 675 (2014) (quoting 42 U.S.C. § 2000bb-

  1(a); first alteration in original, emphasis supplied). 7           In Hobby

  Lobby, for-profit closely-held corporations challenged certain

  regulations promulgated by the Department of Health and Human

  Services (“HHS”) that required that the corporations provide their

  employees with health insurance coverage for all FDA-approved

  contraceptive     methods.      The   corporations     argued    that   these

  regulations compromised their religious belief that human life

  begins at conception because four FDA-approved contraceptives “may

  operate after the fertilization of an egg.”             Id., 134 S. Ct. at

  2764-66.

              The Supreme Court looked to the Dictionary Act, 1 U.S.C.

  Section 1, to determine whether the subject provision of the RFRA-

  -which addresses a “‘person’s’ exercise of religion . . . [but]

  does not define the term ‘person’”--is applicable to for-profit

  corporations.     Id. at 2768 (quoting 42 U.S.C. ¶ 2000bb-1(a)).          The

  Court held that there was no evidence of congressional intent to

  depart from the Dictionary Act’s definition of “person,” which


  7 The RFRA further provides that “[i]f the Government
  substantially burdens a person’s exercise of religion . . .
  that person is entitled to an exemption from the rule unless
  the Government ‘demonstrates that application of the burden to
  the person--(1) is in furtherance of a compelling governmental
  interest; and (2) is the least restrictive means of furthering
  that compelling governmental interest.’” Hobby Lobby, 134 S.
  Ct. at 2761 (quoting 42 U.S.C. § 2000bb-1(b)).
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  “‘include[s]       corporations,           companies,         associations,       firms,

  partnerships, societies, and joint stock companies, as well as

  individuals.’”           Id.     (quoting       1.   U.S.C.    §   1;   alteration     in

  original).      In concluding that a federal regulation’s restriction

  on a for-profit closely held corporation is subject to the RFRA,

  the    Court    noted     that    “[a]   corporation          is   simply   a   form   of

  organization used by human beings to achieve desired ends. . .

  [and] [w]hen rights, whether constitutional or statutory, are

  extended to corporations, the purpose is to protect the rights of

  these people.” 8        Id. at 2768, 2774.

                 Here, the CCTA neither defines “Indian” nor limits the

  term    “Indian”     to       individual        Native    Americans.        The   State

  essentially argues that if Congress wanted to include Indian-owned

  businesses within the purview of the CCTA’s “Indian in Indian

  Country” exemption it would have expressly done so.                         (Pl.’s Opp.

  Br. at 6-7.)      The State notes that other statutes provide distinct

  definitions for “Indian” and “Indian-owned business,” or define

  “Indian” as “‘a person who is a member of an Indian tribe.’”                       (See

  Pl.’s Opp. Br. at 6-7 (quoting 20 U.S.C. § 80q-14(7)).)                         However,

  the converse of the State’s argument is more persuasive.                        Congress

  did    not   limit      the    “Indian     in    Indian    Country”      exemption     to


  8Ultimately, the Hobby Lobby Court held that the contraceptive
  mandate violated the RFRA as applied to closely-held
  corporations. Id. at 2785.

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  individuals.      Further, while the Dictionary Act does not define

  the term “Indian,” that term is akin to the term “person,” which,

  as previously noted, encompasses corporations and companies as

  well as individuals.      1 U.S.C. § 1.     As King Mountain is organized

  under the laws of the Yakama Nation, it is an “Indian” just as a

  corporation organized under the laws of the State of Delaware is

  a “citizen” of Delaware.

              Parenthetically, the “personhood” rights that have been

  conferred to corporations--i.e., the protections of the First

  Amendment, see Citizens United v. Fed. Election Comm’n, 558 U.S.

  310, 130 S. Ct. 876, 175 L. Ed. 2d 753 (2010)--lend support to the

  notion that an Indian-owned corporation organized under Indian law

  qualifies as an “Indian” for the purposes of the CCTA’s “Indian in

  Indian Country” exemption.

              The State’s argument that “Congress simply intended this

  [CCTA] exemption to protect only ‘tribal sovereignty’ and the

  limited interests implicated under the doctrine,” is founded in a

  misreading of the statute.        (Pl.’s Br. at 17.)      This District has

  rejected an attempt to conflate the “Indian in Indian country”

  exemption with the concept of sovereign immunity, holding that the

  question of whether a non-party Indian Nation may assert sovereign

  immunity has no relation to “whether the[ ] defendants fall within

  the   statutory    exemption    applicable     to   ‘Indian[s]    in   Indian



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  country.’”      Golden    Feather,   2009       WL     705815,    at    *12   (second

  alteration in original).

              Further,     the   State’s    assertion        that   the   legislative

  history of the 2006 amendment that included the “Indian in Indian

  Country” exemption indicates that “Congress’ intention in creating

  this exemption was to protect only ‘tribal governments and tribal

  sovereignty’” is equally misplaced.              (Pl.’s Opp. Br. at 9.)

              The legislative history of the 2006 amendments to the

  CCTA indicates that Congress sought to strengthen the statute with

  modifications that included lowering the violation threshold from

  60,000 cigarettes to 10,000 cigarettes in order to prevent criminal

  organizations and terrorist groups from funding their activities

  by purchasing cigarettes in a low excise-tax state and selling

  them in a high excise-tax state. 9             151 CONG. REC. H6273-04, (daily

  ed. July 21, 2005) (Statement of Rep. Coble), 2005 WL 1703380, at

  *H6284.

              The legislative history notes that the amendment, as

  initially    drafted,    “could   have        had    the   unintended     effect   of

  targeting tribal governments who are legitimately involved in the

  retailing of tobacco products.”          Id.        However, Congressman Conyers

  stated that the amendment was modified to include “a provision


  9 Congressman Coble specifically cited Hezbollah operatives who
  were convicted in 2003 for buying cigarettes in North Carolina,
  selling them in Michigan, and using the proceeds to fund
  Hezbollah activities.   151 CONG. REC. H6273-04, at *H6284.
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  stipulating that enforcement against tribes or in Indian country,

  as defined in Title 18 Section 1151, will not be authorized by the

  pending bill has been incorporated.”            Id. (emphasis supplied).

  Accordingly,      the   legislative   history   indicates    that   Congress

  differentiated between enforcement against tribes and enforcement

  in Indian country and, thus, intended for the exemption to apply

  in both circumstances.      Indeed, that distinction is express in the

  statute which, again, prohibits the commencement of a civil action

  by a state against “an Indian tribe or an Indian in Indian

  country.”    18 U.S.C. § 2346(b)(1) (emphasis supplied).

              The Court is also unpersuaded by the State’s seemingly

  policy-driven argument that if King Mountain is entitled to the

  CCTA’s “Indian in Indian Country” exemption, the result would be

  “a new loophole by which other non-New York Native Americans and

  tribes    would    flood    New   York’s    reservations     with   enormous

  quantities of unstamped cigarettes.”         (Pl.’s Br. at 23.)     As noted

  by King Mountain, the “Indian in Indian country” exemption is only

  applicable to state enforcement of the CCTA.           (Def.’s Opp. Br. at

  5.)   See also 18 U.S.C. § 2346(b)(1).       Thus, the federal government

  is permitted to enforce the CCTA without regard to whether the

  action is against an “Indian in Indian country,” which renders it

  unlikely that Indian reservations will be “flooded” with unstamped

  cigarettes.



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              Finally, the Court rejects the State’s argument that the

  “Indian in Indian country” exemption does not apply because King

  Mountain’s     cigarettes    are   delivered        outside   of    the   Yakama

  reservation, i.e., to destinations within the boundaries of the

  State of New York.       (Pl.’s Reply Br., Docket Entry 206, at 4-5.)

  The Court declines to take such a quantum leap.               King Mountain is

  undisputedly located on the Yakama Indian reservation; it is beyond

  cavil that the Yakama reservation is “land within the limits of

  any Indian reservation under the jurisdiction of the United States

  Government” and thus constitutes “Indian country” as defined by

  the CCTA.     18 U.S.C. § 1151(a).         There is nothing in the CCTA to

  support the State’s apparent position that the “Indian in Indian

  country” exemption is not applicable to cigarette sales to persons

  or entities outside of a given Indian reservation.

              The Court is keenly aware of the significant harms to

  public health and welfare that result from cigarette smoking and

  cigarette trafficking.        However, the Court is not empowered to

  legislate; its sole charge is to interpret and apply the CCTA as

  drafted by Congress.         Accordingly, the Court finds that King

  Mountain is an “Indian” in the context of the CCTA.                However, the

  Court’s     determination    is    limited     to    Indian-owned     companies

  organized under the laws of an Indian Nation or tribe.                The Court

  makes no determination as to whether an Indian-owned corporation

  organized under state law is an “Indian” pursuant to the CCTA.

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              Accordingly, King Mountain’s motion for summary judgment

  on the State’s CCTA claim is GRANTED based on King Mountain’s

  status as an “Indian in Indian country.”               The Court need not

  address the parties’ other arguments regarding the applicability

  of the CCTA to King Mountain.

        B.    Prevent All Cigarette Trafficking Act

              On March 31, 2010, Congress enacted the PACT Act.            PACT

  Act., Pub. L. No. 111-154, 124 Stat. 1087 (2010).              The PACT Act

  requires that certain filings be made by “[a]ny person who sells,

  transfers, or ships for profit cigarettes or smokeless tobacco in

  interstate commerce, whereby such cigarettes or smokeless tobacco

  are shipped into a State, locality, or Indian country of an Indian

  tribe taxing the sale or use of cigarettes or smokeless tobacco[.]”

  15 U.S.C. § 376(a).       The PACT Act defines “interstate commerce”

  as: (1) “commerce between a State and any place outside the State,”

  (2) “commerce between a State and any Indian country in the State,”

  or (3) “commerce between points in the same State but through any

  place outside the State or through any Indian country.”            15 U.S.C.

  § 375(9)(A). 10


  10With respect to the definition of “interstate commerce,” the
  PACT Act further provides that “[a] sale, shipment, or transfer
  of cigarettes or smokeless tobacco that is made in interstate
  commerce, as defined in this paragraph, shall be deemed to have
  been made into the State, place, or locality in which such
  cigarettes or smokeless tobacco are delivered.” 15 U.S.C.
  § 375(9)(B).


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                 The parties’ dispute regarding the PACT Act centers on

  whether    King    Mountain      cigarettes       were   shipped      in   “interstate

  commerce.”       With the exception of one sale to Valvo Candies that

  is discussed below, the State does not dispute that King Mountain’s

  shipments were made to “Indian country.”                   (See Pl.’s Br. at 26

  (noting that King Mountain delivered cigarettes “to the certain

  persons largely located on Indian reservations within the State of

  New York”); Pl.’s 56.1 Stmt. ¶¶ 53(1), 54(a) (asserting that Valvo

  Candies    is    not   located     on    a   qualified    Indian      reservation).)

  However, the State argues that King Mountain’s sales were made in

  “interstate       commerce,”     as     defined     by   the   PACT    Act,   because

  “[o]rdinarily, ‘an Indian reservation is considered part of the

  territory of the State.’”               (Pl.’s Br. at 27 (quoting Nevada v.

  Hicks, 533 U.S. 353, 361-62, 121 S. Ct. 2304, 2311, 150 L. Ed. 2d

  398 (2001).)       The Court disagrees.

                 The PACT Act includes separate definitions for “State”

  and “Indian country.”           “State” is defined as “each of the several

  States    of    the    United    States,      the   District    of    Columbia,   the

  Commonwealth of Puerto Rico, or any territory or possession of the

  United States.”        15 U.S.C. § 375(11).         “Indian Country” is defined

  as including “all land within the limits of any Indian reservation

  under the jurisdiction of the United States Government [.]”                        15

  U.S.C. § 375(7); 18 U.S.C. § 1151.                  The notion that a qualified

  Indian reservation--which falls squarely within the definition of

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  “Indian Country”--is somehow subsumed within the definition of

  “state” is belied by a plain reading of the statute.

              Parenthetically,      the    Court   is   not   persuaded   by   the

  State’s argument that Congress did not intend to “change[ ] the

  common law rule that Indian country is ordinarily considered a

  part of a state’s territory.”       (Pl.’s Opp. Br. at 12 (citing Hicks,

  533 U.S. at 361-62, 121 S. Ct. at 2311; Chemehuevi Indian Tribe v.

  California Bd. of Equalization, 800 F.2d 1446, 1450 (9th Cir.

  1986); State ex. rel. Edmondson v. Native Wholesale Supply, 237

  P.3d 199, 208 (Okla. 2010).)             The cases cited by the State in

  support of this notion do not address the PACT Act.             Moreover, any

  purported general rule that Indian reservations are a part of the

  states in which they are located is not applicable given the PACT

  Act’s   distinct    definitions    of    “state,”     “Indian   country,”    and

  “interstate commerce.”

              In light of the undisputed fact that with the exception

  of the sale to Valvo Candies, all of the King Mountain sales were

  made from King Mountain’s location on the Yakama reservation to

  Indian reservations within the boundaries of the State of New York,

  it is clear that these sales do not fall within the PACT Act’s

  definition of “interstate commerce.”             As previously noted, the

  PACT Act defines “interstate commerce” as implicating one of three

  different commerce scenarios.           The first two scenarios, “commerce

  between a State and any place outside the State” and “commerce

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  between a State and any Indian country in the State,” expressly

  require that one point of commerce be in a “state.”                 15 U.S.C.

  § 375(9)(A). As King Mountain’s subject sales were from one Indian

  reservation to other Indian reservations, they do not fall within

  the first two methods of interstate commerce because the sales did

  not originate or conclude in a “state.”              The third interstate

  commerce scenario is “commerce between points in the same State

  but through any place outside the State or through any Indian

  country.”    Since the subject transactions did not take place in a

  “state”--and undisputedly did not take place in the same state--

  this third scenario also does not apply.

              Finally,    in   a   footnote,   the   State   argues   that   its

  position is supported by two documents prepared by the Department

  of Justice’s Bureau of Alcohol, Tobacco, Firearms, and Explosives

  (“ATF”).    (Pl.’s Opp. Br. at 14-15, n.16.)         The first document is

  correspondence sent from ATF to King Mountain in response to King

  Mountain’s opposition to California’s nomination to place King

  Mountain on the PACT Act non-compliant list (the “ATF Letter”).

  (ATF Ltr., Pl.’s Opp. Ex. A, Docket Entry 201-2.)            The ATF Letter

  states, in relevant part, that the definition of “interstate

  commerce” set forth in the PACT Act “encompasses shipments from

  King Mountain to California, regardless that the final destination

  in California may be located in Indian Country.”           (ATF Ltr. at 8.)

  The second document, in which ATF summarizes comments received in

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  response to an open letter to tribal leaders regarding the PACT

  Act and responds to those comments (the “ATF Summary”), states

  that “as defined by the [PACT Act], intrastate transportation

  between    two    separate     reservations         would   be   in    interstate

  commerce.”     (ATF Summary, Pl.’s Opp. Ex. B., Docket Entry 201-3,

  at 1-2.)

              Notably,     the    State        does    not    argue     that     ATF’s

  interpretation of the PACT Act as set forth in the ATF Letter and

  ATF Summary is entitled to deference under Chevron U.S.A., Inc. v.

  Natural Res. Def. Council, Inc., 467 U.S. 837, 104 S. Ct. 2778, 81

  L. Ed. 2d 694 (1984).        King Mountain argues that these documents

  should not even be afforded respect pursuant to Skidmore v. Swift

  & Co., 323 U.S. 134, 65 S. Ct. 161, 89 L. Ed. 124 (1944).                    (Def.’s

  Reply Br., Docket Entry 205, at 5.)             The Court agrees.

              Pursuant to Skidmore, the Court affords respect to an

  informal agency interpretation “‘depend[ing] upon the thoroughness

  evident in its consideration, the validity of its reasoning, its

  consistency with earlier and later pronouncements, and all those

  factors which give it power to persuade, if lacking power to

  control.’”    De La Mota v. U.S. Dep’t of Educ., 412 F.3d 71, 78-80

  (2d Cir. 2005) (alteration in original) (quoting Skidmore, 323

  U.S. at 140, 65 S. Ct. at 164).          The Second Circuit has held that

  an agency position adopted during the course of litigation “lack[s]



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  the thoroughness required for Skidmore respect.”                 De La Mota, 412

  F.3d at 80.

              Here, the ATF Letter is akin to a document prepared

  during the course of litigation.              (See also Def.’s Reply Br. at 5

  (characterizing         the    ATF     Letter    as   a    “litigation-related

  pronouncement[ ]”).)          The ATF Letter states that after the State

  of California informed it that King Mountain should be added to

  the PACT Act “non-compliant list,” ATF offered King Mountain the

  opportunity to submit a response.             (ATF Ltr. at 1.)    The ATF Letter

  responds to King Mountain’s position and sets forth the basis for

  ATF’s determination that King Mountain failed to comply with the

  PACT Act.    (See generally ATF Ltr.)            The Court finds that the ATF

  Letter is essentially an advocacy piece that lacks the requisite

  thoroughness for Skidmore respect.

              Similarly, the ATF Summary fails to warrant Skidmore

  respect based on its lack of demonstrated validity.                ATF’s salient

  response    in    the   ATF    Summary--that      “intrastate     transportation

  between     two   separate      reservations       would   be     in   interstate

  commerce”--does not include any substantiation or evidence of

  ATF’s rationale.        (ATF Summary at 1-2.)         See Boykin v. KeyCorp,

  521 F.3d 202, 208-209 (2d Cir. 2008) (“We have explained that the

  ‘validity’ inquiry looks to whether an agency interpretation is

  ‘well-reasoned,      substantiated,       and    logical.’”)     (quoting   De   La

  Mota, 412 F.3d at 80).               Additionally, this document expressly

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  contemplates    further    review   and    consideration   regarding    ATF’s

  position.    The ATF Summary states that “[i]n the near future, ATF

  will issue an Interpretive Rule that will set forth the Bureau’s

  views on the [PACT] Act’s requirements . . . [c]omments received

  on or before the closing date. . . will be carefully considered

  and revisions to the rule will be made if they are determined to

  be appropriate.”       (ATF Summary at 1.)         Accordingly, the Court

  declines to afford Skidmore respect to the ATF Letter or ATF

  Summary.

              1. Valvo Candies

              As previously noted, King Mountain concedes that Valvo

  Candies is not owned by an Indian Nation or a member of an Indian

  Nation.     (Def.’s Br. at 9, n.4.)          While King Mountain has not

  expressly conceded that Valvo Candies is not located on an Indian

  reservation, it has neither alleged that Valvo Candies is located

  on an Indian reservation nor produced evidence refuting the State’s

  claim that Valvo Candies is located in Silver Creek, Chautauqua

  County, New York.     (See Pl.’s 56.1 Stmt. ¶¶ 53(l), 54(a).)        Indeed,

  by arguing that its sale to Valvo Candies predated the PACT Act’s

  effective date, see Def.’s Br. at 19, King Mountain implicitly

  concedes that the sale to Valvo Candies took place between the

  Yakama Nation reservation and the State of New York--namely, “a

  State and any place outside the State”--and thus occurred in



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  “interstate commerce” as defined by the PACT Act.                     See 15 U.S.C.

  § 375(9)(A).

               The PACT Act provides that “not later than the 10th day

  of   each    calendar   month,”      any    entity    shipping       cigarettes     in

  smokeless tobacco in interstate commerce shall “file with the

  tobacco tax administrator of the State into which such shipment is

  made, a memorandum or a copy of the invoice covering each and every

  shipment     of   cigarettes    or   smokeless       tobacco       made   during   the

  previous     calendar   month   into       the    state.   .   .    .”     15   U.S.C.

  § 376(a)(2).       See also 15 U.S.C. § 375(10) (“The term ‘person’

  means   an   individual,    corporation,          company,     association,     firm,

  partnership, society . . . .”)         The effective date of the PACT Act

  was June 29, 2010.      See PL 111-154, 124 Stat. 1087 (Mar. 31, 2010)

  (“this Act shall take effect on the date that is 90 days after the

  date of enactment of this Act”).                 Accordingly, the first filing

  date was July 10, 2010, at which time entities shipping tobacco in

  interstate commerce were required to file a memorandum or invoice

  copy for each shipment that took place during June 2010.

               King Mountain alleges that the Valvo Candies shipment

  occurred in May 2010 and the State conceded this fact in its brief.

  (Pl.’s Opp. Br. at 15, n.17 (“[t]hus, because the PACT Act’s

  reporting requirements took effect in June 2010, King Mountain was

  required to report its May 2010 shipment of cigarettes to Valvo



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  Candies”).) 11     However, at oral argument, the State argued that the

  shipment to Valvo Candies occurred on June 29, 2010, and is thus

  subject to the PACT Act’s reporting requirements.

              The Court finds that there are genuine issues of material

  fact as to whether King Mountain was required to make PACT Act

  filings in connection with its 2010 shipment to Valvo Candies.

  The only documentary evidence produced by either party with respect

  to this sale is an invoice dated June 29, 2010 that references a

  “paid” date of May 20, 2010 and a “ship” date of June 29, 2010.

  (See Def.’s Mot. Ex. 19, Docket Entry 195-21.)             Neither party has

  produced     any     additional      documentary      evidence   that    would

  definitively establish the shipment date of this sale to Valvo

  Candies.

              Accordingly, King Mountain’s motion for summary judgment

  regarding the PACT Act claim is GRANTED IN PART and DENIED IN PART

  and the State’s motion for summary judgment is DENIED.                    With

  respect    to    King   Mountain’s    motion,   the   Court   DENIES    summary




  11Parenthetically, the Amended Complaint asserts both that King
  Mountain has “knowingly shipped, transported, transferred, sold
  and distributed large quantities of unstamped and unreported
  cigarettes to on-reservation wholesalers in New York State” and
  that King Mountain “sell[s], transfer[s], and otherwise ship[s]
  such cigarettes to tribal wholesalers and/or retailers in New
  York State for profit.” (Am. Compl. ¶¶ 56, 81.) The Amended
  Complaint does not assert that King Mountain sold cigarettes to
  a company located outside of an Indian reservation or a company
  that is not Indian-owned.

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  judgment regarding the 2010 sale to Valvo Candies and GRANTS

  summary judgment to King Mountain as to the balance of the State’s

  PACT Act claim.

  II.   State Claims

        A.     New York Tax Law §§ 471 and 471-e

               The State argues that King Mountain waived its res

  judicata defense by failing to amend its Answer to plead res

  judicata     as   an   affirmative     defense.     (Pl.’s       Br.    at    32-33.)

  However, it is within this Court’s discretion to entertain a res

  judicata defense asserted in a motion for summary judgment by

  construing the motion as a motion to amend the answer.                       Cowan v.

  Ernest     Codelia,    P.C.,    No.   98-CV-5548,   2001    WL    856606,      at   *5

  (S.D.N.Y. Jul. 30, 2001).         See also Schwind v. EW & Assocs., Inc.,

  357 F. Supp. 2d 691, 698 (S.D.N.Y. 2005) (Noting that the Second

  Circuit     has   held   that    the    district    court    may       consider     an

  affirmative defense asserted for the first time on a summary

  judgment motion “so long as the plaintiff has had an opportunity

  to respond.”) (internal quotation marks and citations omitted).

  Indeed, “[c]ourts have been especially flexible where the defense

  of res judicata was not available at the pleading stage because

  the other action had not yet been concluded.”                    Cowan, 2001 WL

  856606 at *5 (citations omitted).

               Here, it is undisputed that King Mountain’s res judicata

  defense was not available at the pleading stage because the Tax

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  Proceeding did not conclude until November 2014, well after the

  filing of King Mountain’s Answer and the completion of discovery.

  (See Def.’s Opp. Br. at 14.)       The State has been on notice of King

  Mountain’s res judicata defense since at least October 27, 2015,

  when King Mountain requested leave to move for summary judgment

  based, in part, on its argument that the State’s third cause of

  action is precluded by res judicata.          (Def.’s Ltr., Docket Entry

  173.)    Moreover, the extensive briefing on the parties’ summary

  judgment motions has provided the State with ample opportunity to

  respond to King Mountain’s res judicata argument.

              The Court is not persuaded by the State’s argument, in

  a footnote, that King Mountain’s request to amend its Answer to

  include a res judicata defense must be denied based on “undue delay

  or dilatory motive in failing to raise this affirmative defense

  sooner.”    (Pl.’s Reply Br. at 9, n.8.)        Again, it is beyond cavil

  that the Tax Proceeding concluded after King Mountain’s Answer was

  filed and at a point when this action had already been pending for

  years.     The State has not established that King Mountain’s delay

  in asserting a res judicata defense was founded in bad faith.

  Moreover, the State cannot demonstrate prejudice when it has been

  on notice of King Mountain’s asserted defense prior to the filing

  of the parties’ dispositive motions. Accordingly, the Court GRANTS

  King Mountain leave to amend its Answer to assert a res judicata



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  affirmative defense with respect to the third cause of action in

  the Amended Complaint.

                 1.     Res Judicata

                 The doctrine of res judicata provides that “‘a final

  judgment on the merits of an action precludes the parties or their

  privies from relitigating issues that were or could have been

  raised    in    that    action,’     not   just    those   that   were   actually

  litigated.”         Caldwell v. Gutman, Mintz, Baker & Sonnenfeldt, P.C.,

  701 F. Supp. 2d 340, 351 (E.D.N.Y. 2010) (quoting Flaherty v. Lang,

  199 F.3d 607, 612 (2d Cir. 1999)).              “A federal court must give the

  same preclusive effect to a state court decision as a state court

  would give it.”         Cowan, 2001 WL 856606, at *6.         Accordingly, the

  “binding effect” of the Stipulation of Discontinuance filed in the

  Tax Proceeding is governed by New York law.                Id. at *4.

                 In New York, res judicata is applicable where there is:

  “(1) a final, prior adjudication on the merits, (2) that involved

  the party against whom res judicata is to be invoked, and (3) the

  claims involved in the current case were, or could have been,

  raised in the prior case.”            Marcelin v. Cortes-Vazquez, No. 09-

  CV-2303, 2010 WL 5665037, at *3 (E.D.N.Y. Dec. 9, 2010), report

  and recommendation adopted, 2011 WL 346682 (E.D.N.Y. Jan. 28, 2011)

  (citations omitted).

                        a. Final Adjudication on the Merits



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               The   State     argues     that      pursuant     to     DTF   rules,    the

  Stipulation of Discontinuance does not have any binding effect on

  a subsequent proceeding.              (Pl.’s Br. at 32 (“‘A stipulation and

  the admissions therein shall be binding and have effect only in

  the pending proceeding and not for any other purpose, and cannot

  be    used   against      any    of    the    parties       thereto    in    any    other

  proceeding.’” (quoting 20 N.Y.C.R.R. 3000.11(e)).)                           First, the

  Court notes that the State’s cited statutory provision addresses

  “[s]tipulations for hearing,” in which the parties stipulate to

  “all   facts     not   privileged      which      are    relevant     to    the    pending

  controversy.”       20 N.Y.C.R.R. 3000.11(1)(i).               This provision does

  not    address     the    binding      effect     of    a   final     stipulation      of

  discontinuance.          Second, “a stipulation of discontinuance ‘with

  prejudice’ is afforded res judicata effect and will bar litigation

  of the discontinued causes of action.”                   Pawling Lake Prop. Owners

  Ass’n, Inc. v. Greiner, 72 A.D.3d 665, 667, 897 N.Y.S.2d 729 (2d

  Dep’t 2010) (citation omitted). While, as addressed infra, whether

  the State is bound by the Stipulation of Discontinuance is a

  separate     inquiry,      the   Court       finds      that   the    Stipulation      of

  Discontinuance constitutes a final adjudication on the merits.

                      b. Privity

               “A judgment on the merits in a prior action is binding

  not only on the parties to that action, but on those in privity

  with them.”      City of N.Y. v. Beretta U.S.A. Corp., 315 F. Supp. 2d

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  256,   265    (E.D.N.Y.       2004)   (citation     omitted).          Privity    is    an

  “amorphous concept” that requires a determination on a case-by-

  case basis.       Id. (quoting Juan C. v. Cortines, 89 N.Y.2d 659, 667,

  679 N.E.2d 1061, 1065, 657 N.Y.S. 2d 581 (N.Y. 1997)).                       In general,

  privity requires that “the connection between the parties must be

  such that the interest of the nonparty can be said to have been

  represented in the prior proceeding.”                   Green v. Santa Fe Indus.,

  Inc., 70 N.Y.2d 244, 253, 514 N.E.2d 105, 108, 519 N.Y.S.2d 793

  (N.Y. 1987).

               In   analyzing      whether     privity        between    two   government

  agencies exists for purposes of collateral estoppel, the New York

  State Court of Appeals has looked to the Restatement Second of

  Judgments, which provides that:

               If the second action involves an agency or
               official whose functions and responsibilities
               are so distinct from those of the agency or
               official in the first action that applying
               preclusion would interfere with the proper
               allocation of authority between them, the
               earlier   judgment   should  not   be   given
               preclusive effect in the second action.

  Cortines, 89 N.Y.2d at 669, 679 N.E.2d at 1066 (quoting Restatement

  (Second) of Judgments § 36, cmt. f).                        Accordingly, in certain

  situations,       a   final    decision      on   the       merits    that   binds     one

  government        agency      may     not    bind       a     different      government

  agency.      Berretta, 315 F. Supp. 2d at 266 (holding that New York

  City was not in privity with New York State).                        This District has


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  noted that “New York courts have largely refused to find two

  functionally independent governmental entities in privity with

  each   other    for   purposes    of    preclusion.”       Id.   (collecting

  cases).    But see People ex. rel. Dowdy v. Smith, 48 N.Y.2d 477,

  482, 399 N.E.2d 894, 896, 423 N.Y.S.2d 862 (N.Y. 1979) (“[T]he

  People as prosecutors in the criminal action stood in sufficient

  relationship with the Division of Parole in the parole proceeding

  to meet the requirements of the [collateral estoppel] doctrine in

  this respect.”)

              The Beretta Court cited four cases in which New York

  courts found that governmental entities were not in privity for

  collateral estoppel purposes.          Beretta, 315 F. Supp. 2d at 267

  (citing Brown v. City of N.Y., 60 N.Y.2d 897, 458 N.E.2d 1250, 470

  N.Y.S.2d 573 (N.Y. 1983); Saccoccio v. Lange, 194 A.D.2d 794, 599

  N.Y.S.2d 306 (2d Dep’t 1993); Doe v. City of Mount Vernon, 156

  A.D.2d 329, 547 N.Y.S.2d 272 (2d Dep’t 1989); People v. Morgan,

  111 A.D.2d 771, 490 N.Y.S.2d 30 (2d Dep’t 1985).                    With the

  exception of Morgan, each of these cases addressed the effect of

  a prior criminal proceeding on a subsequent civil matter and held

  that the application of collateral estoppel was not warranted based

  on the lack of privity between the district attorney in the prior

  criminal proceeding and the city or county defendants in the civil

  matter.    In Morgan, the Appellate Division, Second Department held

  that the prosecution of a criminal assault charge was not precluded

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  by the determination of a prior administrative proceeding before

  the New York City Housing Authority.                Morgan, 111 A.D.2d at 772.

                Here, the Court is not persuaded by the State’s argument

  that   DTF’s    “sole   charge”       of   collecting      tax   revenues    and   the

  Attorney General’s broader mission and authority weighs against a

  finding of privity between these two agencies.                   (Pl.’s Opp. Br. at

  22.)     A district attorney is not empowered to address the civil

  claims that a City or County may assert.                  Conversely, DTF and the

  Attorney General clearly have overlapping authority with respect

  to civil claims as DTF commenced an administrative proceeding to

  obtain alleged taxes owed by King Mountain under Article 20 of the

  NYTL and the Attorney General commenced this proceeding asserting

  claims      under   Article    20    of    the   NYTL.     Moreover,    unlike     the

  previously noted cases cited by the Beretta Court, the prior

  proceeding at issue in this matter was not a criminal case.

                Additionally, the State’s attempt to distinguish this

  matter from State of N.Y. v. Seaport Manor A.C.F., 19 A.D.3d 609,

  797 N.Y.S.2d 538 (2d Dep’t 2005), is misplaced.                    (Pl.’s Opp. Br.

  at    24,   n.25.)      In    Seaport      Manor,   the    Attorney    General     and

  Commissioner of the Department of Health (“DOH”) commenced an

  action alleging that an adult care facility engaged in fraudulent

  and    deceptive     business       practices.      The    adult    home’s   alleged

  violations were the subject of two earlier DOH administrative

  enforcement proceedings that were both discontinued with prejudice

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  pursuant to stipulations of settlement. Id. at 610. The Appellate

  Division, Second Department affirmed the trial court’s dismissal

  of the first four claims to the extent that they were based on

  violations that occurred prior to the execution of the second

  stipulation of settlement in the earlier DOH proceeding, holding

  that “the underlying facts and statutory scheme establish that the

  Attorney General, who was not a party to the prior enforcement

  proceedings, was in privity with the DOH.”             Id.

               The State alleges that Seaport Manor is not analogous

  because in the case at bar, the Attorney General’s participation

  was   not   “initiated”    by   DTF   and   the   Attorney    General   instead

  “independently initiated this action under a ‘public interest’

  determination.”       (Pl.’s Opp. Br. at 24, n.25.)          However, the fact

  that DTF is not named as a co-plaintiff in this action does not

  eradicate the privity between these two governmental entities.               As

  previously noted, both the DTF and Attorney General filed claims

  under Article 20 of the NYTL--albeit seeking different relief under

  different legal theories.         Moreover, it cannot be said that the

  Attorney General’s responsibility for, inter alia, “prosecut[ing]

  and defend[ing] all actions and proceedings in which the State is

  interested,” New York Executive Law § 63, is so distinct from the

  responsibilities of DTF that the application of claim preclusion

  would       disrupt     the     allocation        of    authority       between

  them.    See Cortinez, 89 N.Y. 2d at 669.

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                 Additionally, the Court is not persuaded that the Tax

  Proceeding did not permit the Attorney General to “enjoy[ ] a

  vicarious day in court.”             (Pl.’s Opp. Br. at 23 (quoting Delamater

  v. Schweiker, 721 F.2d 50, 54 (2d Cir. 1983)).)                          Courts have not

  hesitated to deem a claim barred by res judicata “‘[w]hen an

  administrative agency is acting in a judicial capacity and resolved

  disputed issues of fact properly before it which the parties have

  had an adequate opportunity to litigate.’”                    U.S. v. Town of Bolton

  Landing, N.Y., 946 F. Supp. 162, 167 (N.D.N.Y. 1996) (quoting U.S.

  v. Utah Constr. & Mining Co., 384 U.S. 394, 422, 86 S. Ct. 1545,

  1560, 16 L. Ed. 2d 642 (1966)).                  The Second Circuit has held, in

  the    context       of     collateral    estoppel,         that    an    administrative

  determination cannot be the basis for preclusion unless it was an

  “adjudicative decision,” in which the agency decided to grant or

  deny a privilege “using procedures substantially similar to those

  employed by the courts.”             Metromedia Co. v. Fugazy, 983 F.2d 350,

  366 (2d Cir. 1992), abrogated on other grounds as recognized by

  Yung      v.         Lee,      432       F.3d        142,      147-48        (2d     Cir.

  2005).     Compare Delamater, 721 F.2d at 53 (holding that res

  judicata       was    not      applicable       to    a     prior    Social     Security

  Administration         benefits      determination          where    “[t]here      was   no

  hearing, no testimony, no subpoenaed evidence, no argument, no

  opportunity to test any contention by confrontation”) with Bolton

  Landing, 946 F. Supp. at 169 (“[a]lthough the parties did not call

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  witnesses, the full participation of the parties, the briefing,

  the oral testimony, the submission of the affidavits, and the

  substantial documentary support upon which the [administrative]

  determination largely rests demonstrate that the parties had an

  adequate opportunity to litigate the issues”).

               Here, DTF issued a Notice of Determination stating that

  an audit revealed that King Mountain owed $1,259,250 in taxes.

  (Def.’s Mot. Ex. 13, Docket Entry 195-15.)               In response, King

  Mountain filed a Petition for Redetermination of Deficiency, which

  was answered by DTF.     (Pl.’s Opp. Ex. C, Docket Entry 203-1; Def.’s

  Mot. Ex. 14, Docket Entry 195-16.)          King Mountain’s Petition was

  presided over by an Administrative Law Judge (the “ALJ”) who

  conducted at least one pre-hearing conference call with DTF and

  King Mountain.     (Def.’s Mot. Ex. 15, Docket Entry 195-17.)            While

  DTF and King Mountain ultimately settled rather than proceeding to

  a hearing, the ALJ issued an Order of Discontinuance which stated

  that the DTF’s assessment was cancelled and discontinued with

  prejudice.    (Def.’s Mot. Ex. 17, Docket Entry 195-19.)           The Court

  finds that the proceedings before the ALJ provided DTF and King

  Mountain with a “full and fair opportunity to litigate their

  claims” such as to constitute an adjudicatory process and that the

  Order   of   Discontinuance     “is   analogous    to   a   withdrawal    with

  prejudice entered into during the course of litigation in a court

  of law.”     Hughes v. Lillian Goldman Family, LLC, 153 F. Supp. 2d

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  435, 448-49 (S.D.N.Y. 2001) (Holding that certain claims were

  barred by res judicata based on a conciliation agreement settling

  the   plaintiff’s          New   York    State     Department    of     Human   Rights

  complaint.).

                Finally, the State’s argument that it did not have a

  “vicarious day in court” because the administrative rules do not

  provide for discovery procedures as set forth in the CPLR and

  “[t]hus,      the    Tax    Department       had   no    means   for    testing    King

  Mountain’s petition allegations,” is not persuasive.                        (Pl.’s Opp.

  Br. at 23.)         The previously noted case law does not mandate that

  relevant administrative proceeding implement identical procedures

  to those employed by the courts but merely that the relevant

  procedures are “substantially similar.”                   See Metromedia Co., 983

  F.2d at 366.

                       c.      Claims Raised in the Prior Case

                New York employs a transactional approach in which a

  later claim is precluded if it “aris[es] out of the same factual

  grouping as an earlier litigated claim even if the later claim is

  based    on    legal       theories     or   seeks      dissimilar     or    additional

  relief.”      Marcelin, 2010 WL 5665037, at *3 (internal quotation

  marks and citation omitted).             Pursuant to this approach, “parties

  are prevented ‘from raising in a subsequent proceeding any claim

  they could have raised in the prior one, where all of the claims

  arise from the same underlying transaction.’”                        Falardo v. N.Y.

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  City Police Dep’t, 566 F. Supp. 2d 283, 285-86 (S.D.N.Y. 2008)

  (quoting Schulz v. Williams, 44 F.3d 48, 53 (2d Cir. 1994)).

                 In determining the “factual grouping” that should be

  considered a “transaction” the Court analyzes “how ‘the facts are

  related in time, space, origin, or motivation, whether they form

  a convenient trial unit, and whether . . . their treatment as a

  unit     conforms    to     the   parties’     expectations    or    business

  understandings or usage.’”          Union St. Tower, LLC v. Richmond, 84

  A.D.3d 784, 785 (2d Dep’t 2011) (quoting Smith v. Russel Sage

  Coll., 54 N.Y. 2d 185, 192-93 (N.Y. 1981) (ellipsis in original)).

  This doctrine is not to be mechanically employed as the Court’s

  analysis        “requires    consideration      of      the   realities    of

  litigation.” Hughes, 153 F. Supp. at 447 (internal quotation marks

  and citations omitted).

                 It is well-settled that the doctrine of res judicata

  cannot be avoided by “splitting” a claim into multiple lawsuits

  “based    on    different   legal   theories    (with    different   evidence

  ‘necessary’ to each suit).”          Waldman v. Village of Kiryas Joel,

  207 F.3d 105, 110 (2d Cir. 2000) (alteration in original; citation

  omitted).      Indeed, “the facts essential to the barred second suit

  need not be the same as the facts that were necessary to the first

  suit” and it suffices that “‘the facts essential to the second

  were [already] present in the first.’”            Id. at 110-11 (internal

  quotation marks and citation omitted; alteration in original).

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              As previously noted, the Amended Complaint asserts a

  claim under NYTL Sections 471 and 471-e and alleges that King

  Mountain violated and continues to violate these provisions by

  “possessing cigarettes for sale in New York State . . . upon which

  no state excise tax has been paid, and the packages of which have

  no tax stamps affixed” and by “failing to ship their unstamped

  cigarettes from outside New York directly to a New York-licensed

  stamping agent so that excise tax can be paid and tax stamps

  properly affixed.”        (Am. Compl. ¶¶ 87-88.)          Specifically, the

  Amended    Complaint   details    the    November   6,   2012,   purchase   of

  unstamped King Mountain cigarettes by a State investigator (the

  “November 6th Purchase”) as well as the December 3, 2012, discovery

  of unstamped King Mountain cigarettes by the state police (the

  “December 3rd Inspection”). 12      (Am. Compl. ¶¶ 61-65, 67.)

              The Court finds that the December 3rd Inspection arises

  out of the same factual grouping as the facts underlying the Tax

  Proceeding.      DTF’s Notice of Determination states, in relevant


  12While the State alleges that “none of the cigarettes at issue
  in this case were seized by the State Police or any other state
  agency,” (Pl.’s Opp. Br. at 18), the record does not contain
  specific information as to the particular cigarettes seized on
  December 3, 2012, and the Court is unable to definitively
  conclude that the seized cigarettes are excluded from the
  extensive list of cigarette sales set forth in the State’s 56.1
  Statement. (Pl.’s 56.1 Stmt. ¶¶ 66-79.) Accordingly, in an
  abundance of caution, the Court will determine whether any claim
  regarding the cigarettes seized on December 3, 2012, is barred
  by res judicata.


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  part, “[o]n 12/03/12, you were found to be in possession and/or

  control of unstamped or unlawfully stamped cigarettes, and/or

  untaxed tobacco products.          Therefore, penalty is imposed under

  Article 20 of the New York State Tax Law.” 13           (Def.’s Mot. Ex. 13,

  at 3.)    Thus, the Tax Proceeding resolved the State’s claim that

  King Mountain was liable under the NYTL for possession of the

  unstamped cigarettes discovered in the December 3rd Inspection.

  The State’s claim that King Mountain violated Article 20 by failing

  to ship their cigarettes to a licensed stamping agent could have

  been raised in the Tax Proceeding with respect to the cigarettes

  discovered during the December 3rd Inspection.              Accordingly, the

  State’s cause of action under Sections 471 and 471-e is barred by

  res   judicata    to    the   extent   that    it   addresses   the   unstamped

  cigarettes discovered during the December 3rd Inspection.

              Whether the cigarettes implicated in the November 6th

  Purchase are barred by res judicata presents a closer issue. There

  appears to be no dispute that the November 6th Purchase was not

  addressed in the Tax Proceeding.              Instead, King Mountain argues

  that all of the State’s claims under Article 20—including its

  claims regarding the November 6th Purchase--are precluded because

  they could have been raised in the Tax Proceeding.               (Def.’s Opp.

  Br. at 13-14.)         However, the Court declines to characterize the


  13The Court notes that Article 20 of the New York State Tax Law
  includes Sections 471 and 471-e.
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  Tax Proceeding as an umbrella that encompasses all claims regarding

  untaxed cigarettes prior to December 2012.               The November 6th

  Purchase arises out of a different underlying factual transaction

  than   the    December     3rd   Inspection--namely,     the   purchase    of

  unstamped cigarettes at a smoke shop on the Poospatuck Reservation

  in Suffolk County rather than the search and seizure of a truck of

  unstamped cigarettes in Clinton County.          Accordingly, the State’s

  third claim is not barred to the extent it addresses the November

  6th Purchase.

               2.   Merits

               As previously noted, the Amended Complaint alleges that

  King Mountain has “violated, and continue[s] to violate, New York

  Tax Law §§ 471 and 471-e by possessing cigarettes for sale in New

  York State . . . upon which no state excise tax has been paid, and

  the packages of which have no tax stamps affixed.” 14            (Am. Compl.

  ¶ 87.)       The Amended Complaint also alleges that King Mountain

  violated Section 471 by “failing to ship their unstamped cigarettes

  from outside New York directly to a New York-licensed stamping

  agent so that the excise tax can be paid and tax stamps properly

  affixed.”     (Am. Compl. ¶ 88.)     The Court will address each alleged

  violation of Section 471 in turn.




  14The Court notes that the State is not requesting that King
  Mountain satisfy the taxes allegedly owed with respect to these
  cigarette shipments. (Am. Compl. at 25-26.)
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                    a. Possession of Cigarettes for Sale

              Section 471 provides that “[t]here is hereby imposed and

  shall be paid a tax on all cigarettes possessed in the state by

  any person for sale[.]”      N.Y. Tax L. § 471(1) (emphasis supplied).

  There is a presumption that all cigarettes in New York State are

  subject to tax and the “person in possession thereof” bears the

  burden of establishing that any cigarettes are not taxable.               Id.

  Article 20 of the NYTL does not define the term “possession.”             See

  N.Y. Tax L. § 470.      NYTL Section 471-e establishes an “Indian tax

  exemption coupon system” regarding the purchase of tax exempt

  cigarettes by Indian nations or tribes for members’ personal

  consumption.     N.Y. Tax L. ¶ 471.e.

              The State does not allege that King Mountain physically

  possessed unstamped cigarettes in New York State. It is undisputed

  that King Mountain utilized a common carrier to transport its

  cigarettes to Indian reservations and/or Indian-owned businesses

  in New York State.       (Pl.’s 56.1 Counterstmt., Docket Entry 195-4

  ¶ 14.) However, the State argues that an out-of-state manufacturer

  such as King Mountain “possesses” the cigarettes that its common

  carrier transports within New York State, relying on Harder’s

  Express, Inc. v. State Tax Comm., 70 A.D.2d 1010, 1011 (3d Dep’t

  1979), aff’d, 50 N.Y.2d 1050.        (Pl.’s Supp. Br., Docket Entry 213,

  at 8.)    The Court disagrees.



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               As previously noted, Article 20 of the New York Tax Law

  does   not    define   the   term    “possession.”        “Well-established

  principles     of   construction     dictate    that   statutory    analysis

  necessarily begins with the plain meaning of a law’s text and,

  absent ambiguity, will generally end there.”             U.S. v. Sabhnani,

  599 F.3d 215, 255 (2d Cir. 2010) (internal quotation marks and

  citation omitted).      “Possession” is defined as “the act of having

  or taking into control” or “control or occupancy of property

  without regard to ownership.”          MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY

  (11th Ed. 2006).       It is undisputed that King Mountain did not

  exercise control over the King Mountain brand cigarettes that

  entered New York State; the common carrier exercised control over

  the King Mountain cigarettes it was transporting in New York State.

  Thus, King Mountain was not in “possession” of cigarettes as

  contemplated by Section 471.

               The State’s reliance on the Appellate Division, Third

  Department’s decision in Harder’s Express is misplaced. 15            In that

  case, after unstamped cigarettes were stolen from a common carrier

  prior to delivery, the State Tax Commission demanded that the




  15King Mountain argues that the Court should not consider the
  State’s argument regarding Harder’s Express as it was raised for
  the first time on reply. (Def.’s Supp. Br., Docket Entry 212,
  at 4.) However, the Court finds that the State’s argument
  regarding Harder’s Express relates to its initial argument
  asserted in its moving brief that King Mountain was in
  “possession” of cigarettes pursuant to Section 471.
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  common carrier pay the cigarette tax and an assessment.              Harder’s

  Express, 70 A.D.2d at 1010.          The Third Department rejected the

  State Tax Commission’s argument that the theft of the cigarettes

  constituted a sale as defined by the NYTL, which thereby required

  the common carrier to pay a tax based on its possession of the

  unstamped cigarettes.       Id.   The court concluded that: (1) a “mere

  change of physical custody” is not a “sale” of cigarettes, and (2)

  a common carrier only possesses cigarettes “for the purpose of

  facilitating a sale.”       Id. at 1011.       The Court held that Article

  20 of the Tax Law was not applicable to the “transfer of cigarettes

  by theft.”    Id.

               The State argues that since a common carrier does not

  “possess” cigarettes for sale pursuant to Harder’s Express, it

  follows    that     the   cigarettes        remained   in   King   Mountain’s

  “possession” while the common carrier was transporting them into

  New York State.      (Pl.’s Reply Br. at 6.)           The Court declines to

  adopt the State’s creative inversion of the Harder’s Express

  holding.      The fact that a common carrier does not “possess”

  cigarettes under Section 471 does not automatically result in the

  manufacturer maintaining “possession” during the transportation

  process.

              The Court is also not persuaded by the State’s reliance

  on 20 N.Y.C.R.R. Section 74.3, which provides that cigarettes may

  be introduced into New York State without the presumption that a

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  taxable event occurred where the cigarettes are transported by

  common    carrier,        stored    in    a   bonded         or   public   warehouse,    and

  exclusively sold to licensed cigarette agents.                              20 N.Y.C.R.R.

  § 74.3(a)(1).            That provision also states that “[d]ealers and

  manufacturers,       other       than     agents,       in    possession     of   unstamped

  packages of cigarettes . . . may be held liable for the cigarette

  tax and for violation of the Tax Law and this Title.”                             Id.   This

  statute echoes Section 471 in that manufacturers are liable for

  taxes    to    the   extent        they    are     in    “possession”       of    unstamped

  cigarettes.        Once again, the Court declines to go beyond the plain

  meaning       of   the    word     “possession”         and       expand   it    so   that   a

  manufacturer       is     in   “possession”        of    cigarettes        transported       by

  common carrier.

                 In the absence of express direction from the New York

  State legislature, the Court will not rewrite Section 471 and

  expand the definition of “possession” to encompass an out-of-state

  manufacturer utilizing a common carrier to transport cigarettes

  within New York State.             Accordingly, King Mountain is not liable

  for cigarette taxes pursuant to Section 471.

                 b. Failure to Ship Unstamped Cigarettes to Agent

                 King Mountain concedes that: (1) it it is a “wholesale

  dealer,” 16 as defined by Section 471, (2) it is not a licensed


  16“Wholesale dealer” is defined as “[a]ny person who (a) sells
  cigarettes or tobacco products to retail dealers or other
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  stamping agent, 17 and (3) it “did not sell its cigarettes to

  stamping agents licensed by the State of New York (because it sold

  cigarettes directly to Indian tribes and companies owned by members

  of Indian tribes).”       (Def.’s Opp. Br. at 20.)       While Section 471

  permits the sale of unstamped cigarettes to licensed stamping

  agents who provide certifications that the cigarettes will not be

  resold in violation of Article 20, New York Tax Law § 471(4)(a)-

  (b),   it   requires    that   “[a]ll    cigarettes   sold   by   agents   and

  wholesalers to Indian nations or tribes or reservation cigarette

  sellers located on an Indian reservation must bear a tax stamp,”

  N.Y. Tax Law § 471(2).         Thus, King Mountain violated Section 471

  by admittedly failing to sell its unstamped cigarettes to licensed

  stamping agents.       See City of N.Y. v. Golden Feather Smoke Shop,

  Inc., No. 08-CV-3966, 2013 WL 3187049, at *27 (E.D.N.Y. Jun. 20,

  2013) (Noting that agents are meant to be the sole point of entry

  for cigarettes and “[a]s a result, reservation retailers should

  theoretically no longer be able to obtain unstamped cigarettes.”).




  persons for purposes of resale, or (b) owns, operates or
  maintains one or more cigarette or tobacco product vending
  machines in, at or upon premises owned or occupied by another
  person, or (c) sells cigarettes or tobacco products to an Indian
  nation or to a reservation cigarette seller on a qualified
  reservation. N.Y. Tax Law § 470(8).
  17
   “Agent” is defined as “[a]ny person licensed by the
  commissioner of taxation and finance to purchase and affix
  adhesive or meter stamps on packages or cigarettes under this
  article.” N.Y. Tax Law § 470(11).
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              Accordingly, the State’s motion for summary judgment is

  GRANTED IN PART and DENIED IN PART.         The State’s motion is GRANTED

  with respect to its claim that King Mountain violated Section 471

  by selling unstamped cigarettes directly to Indian nations or

  tribes and/or reservation cigarette sellers or entities that are

  not licensed stamping agents.         The State’s motion is DENIED with

  respect to its claim that King Mountain is liable under Section

  471 for its “possession” of cigarettes.

              The Court notes that the Amended Complaint does not

  expressly specify the relief that the State is seeking with respect

  to its third cause of action.          (See generally Am. Compl. at 25-

  26.)    The Court will address the issue of the particular relief

  the State is seeking in connection with the third cause of action

  after the completion of the trial in this matter.

         B.   New York Tax Law § 480-b

              New York Tax Law Section 480-b provides, in relevant

  part that:

              Every tobacco product manufacturer . . . whose
              cigarettes are sold for consumption in this
              state shall annually certify under penalty of
              perjury that, as of the date of such
              certification,     such    tobacco     product
              manufacturer:    (a)    is  a   participating
              manufacturer as defined in [the Public Health
              Law]; or (b) is in full compliance with
              [Public Health Law Section 1399-pp(2)] . . .

  N.Y. Tax L. § 480-b(1).           Additionally, the submission of such

  certification      by   tobacco     product    manufacturers     “shall    be

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  accompanied by a list setting forth each of the cigarette brands

  of such tobacco product manufacturer sold for consumption in New

  York state.”     N.Y. Tax L. § 480-b(1).         The New York Public Health

  Law defines “tobacco product manufacturer” as including an entity

  that “manufactur[es] cigarettes anywhere that such manufacturer

  intends to be sold in the United States[.]”               N.Y. Pub. Health L.

  § 1399-oo(9)(a).       Public Health Law Section 1399-pp(2) provides

  that any tobacco manufacturer selling cigarettes to consumers in

  New York State must either: (1) become a participating manufacturer

  pursuant to the Master Settlement Agreement 18; or (2) place a

  proscribed amount of funds per unit sold into a qualified escrow

  fund each year.     N.Y. Pub. Health L. § 1399-pp(2)(a).

               The State alleges that King Mountain has failed to

  provide the certifications required under Section 480-b and “has

  not joined the 1998 Tobacco Master Settlement Agreement, and has

  not otherwise complied with the State’s escrow requirements.”

  (Pl.’s Br. at 34.)      In support, the State submits the Declaration

  of   Peter   Spitzer   dated   February    21,    2013,    (“Spitzer   Decl.”)




  18In November 1998, four cigarette manufacturers settled
  litigation with states that included New York by entering into a
  Master Settlement Agreement in which “[i]n return for releases
  from liability, these manufacturers agreed to make substantial
  annual payments to compensate the states for health care
  expenses incurred in the past and expected to be incurred in the
  future as a result of their populations’ smoking-related
  ailments.” Freedom Holdings, Inc. v. Cuomo, 624 F.3d 38, 42 (2d
  Cir. 2010).
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  originally submitted in support of the State’s application for a

  preliminary injunction.        (Pl.’s Mot. Ex. 33, Docket Entry 197-40.)

  Mr. Spitzer, an Excise Tax Technician with DTF, asserts that a

  search of the agency’s records revealed that King Mountain did not

  certify “that it is either a participating manufacturer under the

  MSA and has generally performed its obligations thereunder, or is

  in full compliance with New York Public Health Law § 1399-pp(2) by

  having deposited the required amount of escrow per cigarette sold

  in the state.”      (Spitzer Decl. ¶¶ 1, 6.)       Mr. Spitzer also avers

  that DTF records reveal that King Mountain did not submit a list

  of the cigarette brands it sells in New York State pursuant to

  Section 480-b(1).        (Spitzer Decl. ¶ 7.)      Further, King Mountain

  admits in its Answer that it has not filed certifications or a

  list of the cigarette brands it sells in New York State pursuant

  to Section 480-b.        (See Am. Compl. ¶¶ 75, 92; Ans., Docket Entry

  47, ¶ 20.)

                In opposition, King Mountain argues that “there is no

  evidence in the record that King Mountain knowingly violated New

  York Tax Law § 480-b, because King Mountain only engaged in Nation-

  to-Nation sales within the boundaries of New York State.”             (Def.’s

  Opp. Br. at 22.)     King Mountain avers that it only sold cigarettes

  to   Indian    Nations   and   Indian-owned   companies    with   a   “single

  exception;” the Court Assumes this “single exception” is its sale

  to Valvo Candies in which it sold to a non-Native American owned

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  corporation.      (Def.’s Opp. Br. at 22-23.)          Notably, King Mountain

  does not proffer any proof that it complied with Section 480-b.

              First, King Mountain concedes that it made its infamous

  sale to Valvo Candies, a New York State company that is not owned

  by an Indian Nation or tribe or a member of an Indian Nation or

  tribe.      Accordingly,      King   Mountain     is     a    “tobacco    product

  manufacturer . . . whose cigarettes are sold for consumption in

  this    state,”   and   was   required     to   comply       with   Section   480-

  b.     Second, there is no exception in Section 480-b for cigarette

  sales to Indian Nations or Indian-owned companies located on

  qualified reservations.       Unlike the PACT Act, which, as previously

  noted, includes definitions of “state,” “Indian country,” and

  “interstate commerce,” neither Section 480-b nor the definitions

  set forth in NYTL Section 470 define the term “state.”                   The Court

  declines to hold that Section 480-b is inapplicable to cigarettes

  sales to Indian Nations and/or Indian-owned companies located on

  reservations in the absence of any statutory support for the

  creation of such an exception.           Accordingly, the State’s motion

  for summary judgment is GRANTED with respect to its claim under

  Section 480-b.

         C.   New York Executive Law § 156-c

              1.     Failure to File Certifications

              New York Executive Law Section 156-c (“Section 156-c”)

  provides that “no cigarettes shall be sold or offered for sale in

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  this state unless the manufacturer thereof has certified in writing

  to the office of fire prevention and control that such cigarettes

  meet the performance standards prescribed by the office of fire

  prevention    and   control    pursuant     to   subdivision   two   of   this

  section.”     N.Y. EXEC. L. § 156-c(3).          The State argues that King

  Mountain has failed to certify in writing to the New York State

  Office of Fire Prevention and Control that its cigarettes meet the

  relevant performance standards.        (Pl.’s Br. at 34.)      King Mountain

  has failed to respond to this argument or proffer any evidence

  that it has submitted the requisite certifications.              (See Def.’s

  Opp. Br. at 22-23.)

              King Mountain admitted that it has not submitted such

  certifications in its Responses to Plaintiff’s First Request for

  Admissions under Rule 36 dated November 20, 2013.               (Pl.’s Mot.

  Ex. 18, Docket Entry 197-25, ¶ 6.)                To the extent that King

  Mountain’s opposition brief could be construed as asserting that

  it need not file certifications because it does not sell cigarettes

  in New York State based on its “Nation to Nation” sales, Section

  156-c contains no such exception.          Accordingly, the State’s motion

  for summary judgment is GRANTED with respect to its claim that

  King Mountain failed to file certifications in violation of Section

  156-c.




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              2.     “FSC” Labeling

              Section 156-c also provides that “[n]o cigarettes shall

  be distributed, sold or offered for sale in this state unless the

  manufacturer has placed on each individual package the letters

  ‘FSC’ which signifies Fire Standards Compliant.”              N.Y. EXEC. L.

  § 156-c(6).      It is unclear whether the State has abandoned an

  additional aspect of its Section 156-c claim--that King Mountain

  has failed to affix the required Fire Standards Compliant mark on

  its packaging--based on its failure to include such argument in

  its moving brief.      (See Am. Compl. ¶ 96 (“Defendant King Mountain

  has similarly failed to place the required ‘FSC’ (Fire Standards

  Compliant) mark on the packages of cigarettes it manufactures which

  are distributed, sold, or offered for sale in New York.”); Pl.’s

  Br. at 34.)      In any event, the Court finds that King Mountain has

  raised genuine issues of material fact as to whether it affixed

  the letters “FSC” to its cigarettes in accordance with Section

  156-c.    King Mountain has produced a photograph of a box of its

  cigarettes that contains the letters “FSC” on its packaging.

  (Def.’s Opp. Ex. A, Docket Entry 202-2.)                Additionally, King

  Mountain cites to the deposition testimony of State Investigator

  Andrew Scala in which Mr. Scala states that the letters “FSC” on

  the King Mountain package of cigarettes signifies compliance with

  the relevant state fire safety code requirement.               (Def.’s Mot.

  Ex. 10, Docket Entry 195-12, 83:4-84:14.)

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              While the Court concurs with the State that King Mountain

  has   not   established    that   it   meets    the   “fire-safe”   standards

  specific to New York, (see Pl.’s Reply Br. at 10), the submission

  of evidence of a King Mountain cigarette box bearing the letters

  “FSC” raises issues of fact as to whether King Mountain complied

  with the packaging requirements set forth in Section 156-c(6).

  Parenthetically, the Court notes that the Amended Complaint only

  asserts     that   King   Mountain     failed    to    file   the   requisite

  certifications and failed to place the required “FSC” mark on its

  packaging; it does not allege that King Mountain Cigarettes do not

  meet fire-safe standards.         (See generally Am. Compl. ¶¶ 94-98.)

  Accordingly, summary judgment is DENIED with respect to the State’s

  claim that King Mountain failed to affix the fire safety compliant

  mark to its cigarettes in violation of Section 156-c.

                                    CONCLUSION

              For the foregoing reasons, King Mountain’s motion for

  summary judgment (Docket Entry 195) is GRANTED IN PART AND DENIED

  IN PART and the State’s motion for summary judgment (Docket Entries

  197 and 198) is GRANTED IN PART AND DENIED IN PART.                   Summary

  judgment is GRANTED in favor of King Mountain on the State’s first

  claim under the CCTA.       Summary judgment on the second claim under

  the PACT Act is DENIED regarding the 2010 sale to Valvo Candies

  and GRANTED in favor of King Mountain as to the balance of the

  State’s PACT Act claim.        With respect to the State’s third claim

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  under NYTL Sections 471 and 471-e, summary judgment is GRANTED in

  favor    of    King   Mountain    regarding    King    Mountain’s    alleged

  possession of unstamped cigarettes in New York State and GRANTED

  in favor of the State regarding King Mountain’s failure to sell

  its unstamped cigarettes to licensed stamping agents.                Summary

  judgment is GRANTED in favor of the State on its fourth claim

  pursuant to Section 480-b.          With respect to the State’s fifth

  claim, summary judgment is GRANTED in favor of the State regarding

  its claim that King Mountain failed to file certifications pursuant

  to New York Executive Law Section 156-c and DENIED as to its claim

  that King Mountain failed to affix the Fire Standards Compliant

  mark to its cigarette packages.




                                                  SO ORDERED.


                                                  /s/ JOANNA SEYBERT______
                                                  Joanna Seybert, U.S.D.J.

  DATED:        July _21_, 2016
                Central Islip, New York




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